Exhibit 9
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             €)Email - ID: 4637405


          Message        8 - Emails Sent
         Activity Code: ODP Invitation Notice                                                    ~ Done

         Sent By:                                                                                Anne Laurence
         Sent To:                                                                                      Wilson
         Date Sent:                                                                              7/27/20101:43:00 PM
         Subject:                                                                                USAWP - ODP Invitation Notice
         Message:




         Dear         Wilson

         CONGRATULATIONS on being selected for your respective ODP Zone Training Team! The entire Olympic Development Department is happy to formally
         welcome you to USA Water Polo's Olympic Development Pipeline. Your selection is an important part of the Olympic Development Program and you will
         soon have the opportunity to integrate yourself into our highly successful system. Click here for the ODP Handbook that provides an in depth description of
         the entire Olympic Development Program.


         The Olympic Development Program is moving in a new and exciting direction in 2010-11. We have in place 6 principles that will be the driving force of the
         Olympic Development Program. (1) Respect for the Game; (2) Feeder System for the Youth, 17u 15u and 14u National Teams; (3) Progressive Learning of
         the American System of Play; (4) Evaluative Standards for Long Term Improvement; (5) Opportunity to be seen by National Team Coaches; (6) Raise
         College Profile. It is our goal that through our ODP principles we will be able to provide a true value of excellence and service to athletes, coaches and
         referees who are selected to the Olympic Development Program. Please keep this letter for your college records. One of our principles of the Olympic
         Development Program is to raise your college profile and with your selection you are now part of a select group of athletes in our country.


         The purpose of the Olympic Development Program is to serve as the feeder system for USA Water Polo's 17 and under, 15 and under and 14 and under
         National Teams. The foundation of the program is a systematic approach to athlete, coach, and referee development through a year round training program
         that stresses the importance of being physically fit with a strong overall technical base that inter-connects with tactical component of the game.


         After 32 hours of training, there will be 4 Regional Championships held at different times around the country. Following the Regional Championships, a
         collaboration of a National Teams Staff member, the National Technical Director, the Regional Technical Director and Zone Head and Assistant Coaches will
         select Zone athletes to represent their respective Region at the National Training and Selection Camp. A total of 70 players will be selected respectively for
         the 11th grade and under, 9th grade and 8th grade and under ODP National Training and Selection Camp. Following each National Training and Selection
         Camp the 17u, 15u and 14u National Teams will be named.


         With your selection come some responsibilities that are very important. As mentioned the ODP Handbook is provided with this letter. Please read and have
         your parents read the ODP Handbook because there are important guidelines and deadlines that must be followed. To accept this invitation to the ODP
         program, please follow the registration instructions below.


         Registration Instructions:

            • Click here to log into your USA Waterpolo Membership Account.
               o Your Username is 463507
                o If you forgot your password, please click here .
            • Once you are logged in, you will see a link to register for ODP on your homepage.
            • On the final page of the registration process you will have the ability to select how you wish to pay for your ODP registration.
            • Once you submit your regsitration, please check back to the homepage of your membership account to review any other important information relating
                toODP.



         Once again congratulations on your great achievement. You join a select group of athletes and your journey is now one step further in the Olympic
         Development Pipeline.




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         Sincerely.




         Guy Baker




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         AC_ID 1022


                                           Entered: 7127/2010 1:48:00 PM By: Anne Laurence   II   Modified: 7127/2010 1:48:00 PM By: Anne Laurence




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